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April 19, 2018

VIA ECF

United States District Judge Kimba M. Wood
United States Courthouse

500 Pearl Street

New York, New York 10007-1312

Re: Michael D. Cohen v. United States of America, 18-MJ-316l (KMW)
Dear Judge Wood:

We are submitting this letter to correct two related statements made on behalf of plaintiff
Michael D. Cohen (“Mr. Cohen”) in two submissions in the above-referenced matter.

On April 12, 2018, we filed a memorandum and a declaration in support of Mr. Cohen’s
Motion for Order to Show Cause on behalf of Mr. Cohen. The memorandum states, in pertinent
part, that Mr. Cohen “extensively cooperated with numerous ongoing government investigations,
including . . . appearances in front of two Congressional committees, both of which included
sworn testimony.” [Filing No. 6 at 3.] The memorandum and declaration further state that Mr.
Cohen “voluntarily appeared before the staff of the Senate lntelligence Committee for a sworn
and transcribed interview on October 25, 2017.” [Filing No. 6 at 8, Filing No. 7 at 4.]

lt has now come to our attention that the aforementioned statements need to be corrected
Although Mr. Cohen’s testimony before the House lntelligence Committee was under oath and
his voluntary interview before the Senate lntelligence Committee was transcribed, the voluntary
interview was not given under oath, as stated in the memorandum and declaration Upon
learning of this factual inaccuracy, we are acting promptly to notify the Court.

Sincerely,

ephen M. Ry n
Todd R. Harrison

cc: Counsel of Record

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